                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF MISSOURI
                              SOUTHERN DIVISION

UNITED STATES OF AMERICA,                            )
                                                     )
               Plaintiff,                            )
                                                     )
       v.                                            )       No. 20-03031-01/13-CR-S-SRB
                                                     )
MATTHEW D. CEPLECHA, et al.,                         )
                                                     )
               Defendants.                           )

                                             ORDER

       Counsel for Defendant Christian F. Roman (10) has filed a motion for continuance of the

September 20, 2021 trial setting in the above-captioned case. (Doc. 334.)

       In any case in which a plea of not guilty is entered, the trial shall commence within 70

days from the filing of the information or indictment or the date of the defendant’s first

appearance, whichever comes last. 18 U.S.C. § 3161(c)(1) (the “Speedy Trial Act”). However,

in computing the time within which trial of any offense must commence, any period of delay

resulting from a continuance granted by the court at the request of a defendant or his or her

counsel, which serves the ends of justice, shall be excluded from computing the time. 18 U.S.C.

§ 3161(h)(7)(A). The Speedy Trial Act requires that the court set forth its reasons for finding

that the ends of justice served by the granting of such continuance outweigh the best interests of

the public and the defendant in a speedy trial. Factors which this Court shall consider in

determining whether to grant a continuance include whether the failure to grant such a

continuance would be likely to result in a miscarriage of justice and deny reasonable time

necessary for effective preparation, taking into account the exercise of due diligence.

       Counsel for Defendant states that additional time is needed to meet with Defendant,




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review discovery and prepare a defense. Failure to grant the continuance would deny counsel for

Defendant the reasonable time necessary for effective preparation, taking into account the

exercise of due diligence. Also, all defendants are charged in Count One with conspiracy. In

granting the motion for continuance, there is no violation of the rights of the co-defendants to a

speedy trial. See United States v. Thomas, 774 F.2d 807 (7th Cir. 1985). The Court finds that

the ends of justice served by granting a continuance outweigh the best interest of the public and

Defendant in a speedy trial. It is therefore

        ORDERED that the motion for continuance of the September 20, 2021 trial setting is

granted; and it is further

        ORDERED the above-captioned case is reset for jury trial on the Joint Criminal Trial

Docket which commences on March 21, 2022 at 9:00 a.m.; and it is further

        ORDERED that the pretrial conference on August 24, 2021, is cancelled; and it is further

        ORDERED that the additional period of delay in commencing the trial caused by this

continuance shall be excluded in computing the time within which this trial shall commence

under the Speedy Trial Act.

        IT IS SO ORDERED.

                                                    /s/ David P. Rush
                                                    DAVID P. RUSH
                                                    UNITED STATES MAGISTRATE JUDGE

DATE: August 17, 2021




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